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1    KIRK T. KENNEDY, ESQ.
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2    815 S. Casino Center Blvd.
     Las Vegas, NV 89101
3    office: (702) 385-5534
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4    email: ktkennedylaw@gmail.com
     Attorney for Plaintiff
5
                             UNITED STATES DISTRICT COURT
6
                                     DISTRICT OF NEVADA
7
     JOHN WINTERROWD,                       )            2:18-cv-00708-APG-NJK
8    Individually,                          )
                                            )
9                 Plaintiff,                )
                                            )
10   vs.                                    )
                                            )
11   NV ENERGY, INC., a Nevada corporation; )
     DOES 1-10, inclusive; ROE              )
12   CORPORATIONS 1-10, inclusive,          )
                                            )
13                Defendants.               )
     ___________________________________ )
14
                                    AMENDED COMPLAINT
15                                   Jury Trial Demanded
16          COMES NOW, the Plaintiff, JOHN WINTERROWD, by and through his
17   undersigned counsel, KIRK T. KENNEDY, ESQ., who files this Amended Complaint
18   against the Defendant, said Amended Complaint filed pursuant Fed. R. Civ. P.
19   15(a)(1)(3), which allows the filing of an amended complaint within 21 days of service of
20   the Defendant’s motion to dismiss, Dock. 6, served 5/16/18, and would allege as follows:
21   1. Plaintiff, JOHN WINTERROWED, is a resident of the State of Florida, however, he
22   did reside in Clark County, Nevada during all events complained of in this action.
23   2. Defendant, NV ENERGY, INC., is a Nevada corporation and did so operate herein
24   during all events complained of in this action.
25   3. Defendant named herein is an employer within the jurisdictional coverage of the Age
26   Discrimination in Employment Act and Nevada’s anti-discrimination statutes.
27   4. Plaintiff is unaware of the true names and capacities of defendants sued herein as Does
28   1-10 and Roe Corporations 1-10, and will amend her complaint to show their true names

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     and capacities when the same are ascertained. Plaintiff is informed and believes and
     thereon alleges that each of these fictitiously named defendants is responsible in some
1
     manner for the occurrences herein alleged, and that Plaintiff’s injuries as herein alleged
2
     were proximately caused by the aforementioned defendants. Plaintiff is further informed
3
     and believes and thereon alleges that at all times herein mentioned each and every
4
     defendant was the agent and employee of the remaining defendants and, in doing the
5
     things hereinafter alleged, was acting within the course and scope of such agency and
6
     employment. Each defendant, in doing the acts alleged herein, was acting with the
7
     consent, permission and authorization of each of the remaining defendants.
8
     5. Plaintiff timely submitted a charge of discrimination with the Equal Employment
9
     Opportunity Commission(34B-2017-01057), which was filed on or about September 12,
10
     2017. The Equal Employment Opportunity Commission assumed jurisdiction over
11
     Plaintiff’s charge and notice of the charge was served upon the Defendant per statutory
12
     requirements.
13
     6. More than sixty days has lapsed since the filing of the charge of discrimination and
14
     Plaintiff is therefore entitled to file this age discrimination based action pursuant to
15
     federal law.
16
     7. Both jurisdiction and venue are appropriate as all events occurred in Clark County,
17
     Nevada; the Defendant operates in Clark County, Nevada; and jurisdiction is predicated
18
     upon a federal cause of action under the Age Discrimination in Employment Act.
19
     8. Plaintiff, a male over the age of 50 years, was an employee of the Defendant from June
20
     11, 1999, to his constructive discharge on October 18, 2016; his last position was that of
21
     an Combined Cycle Operator.
22
     9. At all relevant times herein, Plaintiff was under the supervision of Operations
23
     Manager and Defendant’s employee Andy Anderson, as well as additional supervisors
24
     Ted Gretz, Michael Ryder and Gary Hodgeman.
25
     10. Plaintiff endured various forms of discriminatory conduct based on his protected
26
     category age, 50, from his supervisors which consisted of the following:
27
     a. disparate treatment based on his age in the form of unfair and unfounded criticisms of
28


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     his work and performance, which younger employees of the Defendant did not endure,
     including regular and frequent harassment from supervisors Andy Anderson, Michael
1
     Ryder and Gary Hodgeman regarding Plaintiff’s pay and seniority with the Defendant,
2
     which other, younger, employees did not endure;
3
     b. unequal treatment by management against Plaintiff due to his protected age category
4
     regarding the terms and conditions of his employment as opposed to younger co-workers,
5
     including unfounded and pretextual disciplinary actions instigated by supervisors
6
     Anderson and Ryder, unequal treatment regarding job assignments, which younger
7
     employees did not endure, unequal treatment and criticism against Plaintiff’s job
8
     seniority and pay level, which younger employees did not endure; supervisors violating
9
     Plaintiff’s privacy by exposing his time cards to other co-workers in order to embarrass
10
     and foster harassment against Plaintiff, which younger employees did not endure;
11
     c. disparaging comments and statements by supervisors Ryder and Hodgman, including
12
     regular and frequent verbal abuse, harassing statements and negative comments by both
13
     supervisors against Plaintiff regarding his job performance, his job assignments, his
14
     supervisory abilities and the extent of his pay compared to other co-workers, which
15
     younger employees did not endure;
16
     d. Defendant intentionally failing and refusing to address and resolve a discrimination
17
     complaint submitted by Plaintiff to management and Defendant’s supervisors ignoring
18
     Plaintiff’s efforts to report complaints and concerns, which younger employees did not
19
     endure;
20
     e. Defendant treating Plaintiff in a disparate and adverse manner as opposed to younger
21
     co-workers by delegating work assignments which were overwhelming and/or
22
     inadequately staffed in an effort to cause harm to Plaintiff’s terms and conditions of
23
     employment;
24
     f. Defendant’s supervisors denied Plaintiff work shift opportunities that were offered to
25
     other, younger co-workers;
26
     g. Defendant’s supervisors Ryder, Anderson and Hodgeman fostering an overall hostile
27
     work environment against Plaintiff predicated upon his protected age category, which
28


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     resulted in his constructive discharge on October 18, 2016, said hostile work environment
     including regular and frequent disparaging comments and negative statements by
1
     supervisors Ryder and Hodgeman against Plaintiff regarding his job performance, his job
2
     assignments, his supervisory abilities and the extent of his pay compared to other co-
3
     workers, which younger employees did not endure;
4
     h. Defendant’s supervisors, through the conduct alleged herein, created and fostered an
5
     intolerable and adverse work environment such that the Plaintiff was forced into a
6
     constructive discharge from his employment with the Defendant as a direct result of the
7
     frequent, severe and pervasive harassment and adverse actions of the Defendant’s
8
     supervisors that was directed at Plaintiff, as opposed to younger co-workers;
9
     i. the denial of other workplace rights and protections by the Defendant and other harm.
10
     11. Plaintiff notified the Defendant that its actions and conduct were wrongful and that
11
     Plaintiff was suffering discriminatory harm based on his age.
12
     12. Defendant and its agents failed to protect Plaintiff from the harm caused by the
13
     discriminatory conduct of its agents, said Defendant being on notice that Plaintiff was
14
     over 40 years of age and in a protected class; that he was qualified for his position and
15
     performing satisfactorily; and that he suffered a constructive discharge under wrongful
16
     circumstances giving rise to an inference of age discrimination given that the Defendant
17
     still had a need for Plaintiff’s skills and services.
18
     13. Plaintiff has suffered harm and damages as a result of Defendant’s conduct as set
19
     forth herein in an amount according to proof at trial.
20

21
                                    FIRST CLAIM FOR RELIEF
22
      VIOLATIONS OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT and
23
                                            NEVADA LAW
24
     14. Plaintiff realleges, readopts and reincorporates the allegations contained in
25
     paragraphs 1 through 13 as though fully set forth herein.
26
     15. Plaintiff, a male over the age of 50 years, was subjected to regular and frequent acts
27
     of discrimination, harassment, intimidation and unequal treatment based on his protected
28


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     age category, over 40, as well as an overall hostile work environment, as a result of
     conduct and actions of agents of the Defendant, said conduct in violation of the Age
1
     Discrimination in Employment Act and Nevada state law. This conduct includes, but is
2
     not limited to, Plaintiff endured various forms of discriminatory conduct and harassment
3
     based on his over 40 age; which included pervasive and ongoing verbal abuse, threats and
4
     intimidation from his supervisors; a hostile work environment predicated upon Plaintiff’s
5
     over 40 age; which included verbal abuse, threats and intimidation; unequal treatment as
6
     opposed to other, younger employees/co-workers; disparate treatment as opposed to
7
     other younger employees/co-workers; unfounded disciplinary actions and a wrongful
8
     constructive discharge.
9
     16. Plaintiff endured various forms of discriminatory conduct based on his over 40
10
     protected age category from his supervisors, which consisted of the following:
11
     a. disparate treatment based on his age in the form of unfair and unfounded criticisms of
12
     his work, his performance and his pay level, which younger employees of the Defendant
13
     did not endure, including regular and frequent harassment from supervisors Andy
14
     Anderson, Michael Ryder and Gary Hodgeman regarding Plaintiff’s pay and seniority
15
     with the Defendant, which other, younger, employees did not endure;
16
     b. unequal treatment by supervisors Anderson, Ryder and Hodgeman against Plaintiff
17
     due to his protected age category regarding the terms and conditions of his employment
18
     as opposed to younger co-workers, including unfounded and pretextual disciplinary
19
     actions instigated by supervisors Anderson and Ryder; unequal treatment regarding job
20
     assignments, which younger employees did not endure; unequal treatment and criticism
21
     against Plaintiff’s job seniority and pay level, which younger employees did not endure;
22
     supervisors violating Plaintiff’s privacy by exposing his time cards to other co-workers in
23
     order to embarrass and foster harassment and resentment against Plaintiff, which younger
24
     employees did not endure;
25
     c. disparaging comments and statements by supervisors Ryder and Hodgeman, including
26
     regular and frequent verbal abuse, harassing statements and negative comments by both
27
     supervisors against Plaintiff regarding his job performance, his job assignments, his
28


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     supervisory abilities and the extent of his pay compared to other co-workers, which
     younger employees did not endure;
1
     d. Defendant intentionally failing and refusing to address and resolve a discrimination
2
     complaint submitted by Plaintiff to management and Defendant’s supervisors ignoring
3
     Plaintiff’s efforts to report complaints and concerns, which younger employees did not
4
     endure;
5
     e. Defendant treating Plaintiff in a disparate and adverse manner as opposed to younger
6
     co-workers by delegating work assignments which were overwhelming and/or
7
     inadequately staffed in an effort to cause harm to Plaintiff’s terms and conditions of
8
     employment;
9
     f. Defendant’s supervisors denied Plaintiff work shift opportunities that were offered to
10
     other, younger co-workers;
11
     g. Defendant’s supervisors Ryder, Anderson and Hodgeman fostering an overall hostile
12
     work environment against Plaintiff predicated upon his protected age category, which
13
     resulted in his constructive discharge on October 18, 2016, said hostile work environment
14
     including regular and frequent disparaging comments and negative statements by
15
     supervisors Ryder and Hodgman against Plaintiff regarding his job performance, his job
16
     assignments, his supervisory abilities and the extent of his pay compared to other co-
17
     workers, which younger employees did not endure;
18
     h. Defendant’s supervisors, through the conduct alleged herein, created and fostered an
19
     intolerable and adverse work environment such that the Plaintiff was forced into a
20
     constructive discharge from his employment with the Defendant as a direct result of the
21
     frequent, severe and pervasive harassment and adverse actions of the Defendant’s
22
     supervisors that was directed at Plaintiff, as opposed to younger co-workers;
23
     i. the denial of other workplace rights and protections by the Defendant and other harm.
24
     17. Plaintiff notified the Defendant that its actions and conduct were wrongful and that
25
     Plaintiff was suffering discriminatory harm based on his age, however, the Defendant and
26
     its agents failed to protect Plaintiff from the harm caused by the discriminatory conduct of
27
     its agents, said Defendant being on notice that Plaintiff was over 40 years of age and in a
28


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     protected class; that he was qualified for his position and performing satisfactorily; and
     that he suffered a constructive discharge under wrongful circumstances giving rise to an
1
     inference of age discrimination given that the Defendant still had a need for Plaintiff’s
2
     skills and services.
3
     18. As a direct and proximate result of the Defendant’s actions, Plaintiff suffered harm
4
     and damages in an amount according to proof at trial. To the extent that the Defendant’s
5
     conduct was wilful and malicious, Plaintiff also seeks an award of punitive damages in an
6
     amount according to proof at trial.
7
                                                   .
8
                                      PRAYER FOR RELIEF
9
            WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:
10
     1. For compensatory damages, including, but not limited to, future pecuniary losses,
11
     physical and emotional pain and suffering, physical discomfort, inconvenience, mental
12
     anguish and loss of enjoyment of life in a sum according to proof at trial.
13
     2. For back pay and front pay according to proof at trial.
14
     3. For the loss of employee retirement benefits.
15
     4. For punitive damages, if allowable, according to proof at trial.
16
     5. For reasonable attorney’s fees incurred herein.
17
     6. For costs of suit and prejudgment interest.
18
     7. For such other and further relief deemed appropriate by this Court.
19
            Dated this 24th day of May, 2018.
20
                                    /s/Kirk T. Kennedy
21                                  KIRK T. KENNEDY, ESQ.
                                    Nevada Bar No: 5032
22                                  815 S. Casino Center Blvd.
                                    Las Vegas, NV 89101
23                                  (702) 385-5534
                                    Attorney for Plaintiff
24

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                                     JURY TRIAL DEMAND
1
            Pursuant to FRCP 38, Plaintiff does hereby demand a trial by
2
     jury of all issues and claims raised in this Complaint.
3
            Dated this 24th day of May, 2018.
4

5
                                    /s/Kirk T. Kennedy
6                                   KIRK T. KENNEDY, ESQ.
                                    Nevada Bar No: 5032
7                                   815 S. Casino Center Blvd.
                                    Las Vegas, NV 89101
8                                   (702) 385-5534
                                    Attorney for Plaintiff
9

10

11                                CERTIFICATE OF SERVICE
12

13          I hereby affirm that on this 24th day of May, 2018, I served a copy of the foregoing
14   upon the Defendant via U.S. Mail and the CM/ECF system to the following:
15

16          Karyn M. Taylor, Esq.
            Nevada Energy
17          6100 Neil Road
            Reno, NV 89511
18
            Roger L. Grandgenett, II, Esq.
19          Littler Mendelson
            3960 Howard Hughes Pkwy., Ste. 300
20          Las Vegas, NV 89169
21                          /s/Kirk T. Kennedy
                            Law Office of Kirk T. Kennedy, Esq.
22

23

24

25

26

27

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                                                   8
